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 8                               UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)              Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
12   ____________________________________       MDL No. 1917
13                                              [PROPOSED] ORDER GRANTING DIRECT
     This Document Relates to:
                                                PURCHASER PLAINTIFFS’ APPLICATION
14                                              FOR DEFAULT JUDGMENT BY THE
     ALL DIRECT PURCHASER ACTIONS
                                                COURT AGAINST THE IRICO
15                                              DEFENDANTS
16                                              Date:      September 12, 2017
17                                              Time:      2:00 p.m.
                                                Judge:     Honorable Jon S. Tigar
18                                              Courtroom: 9

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       [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ APPLICATION FOR DEFAULT
         JUDGMENT BY THE COURT AGAINST THE IRICO DEFENDANTS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 5183-3 Filed 08/03/17 Page 2 of 3




 1          The Court, having reviewed Direct Purchaser Plaintiffs’ Application for Default Judgment

 2   by the Court Against the Irico Defendants (“Application”), dated August 3, 2017, the pleadings and

 3   other papers on file in this action, and the statements of counsel and the parties, hereby finds that:

 4          1.      The Application requests a default judgment against Defendants Irico Display

 5   Devices Co., Ltd. and Irico Group Corporation (the “Irico Defendants”) in the amount of

 6   $2,484,916,104.46, or the $876,000,000 overcharge calculated by Direct Purchaser Plaintiffs’

 7   (“Plaintiffs”) expert, trebled, minus the $212,200,000 settlements previously approved by the

 8   Court, plus $69,116,104.46 which represents the total fee and expense awards made by the Court .

 9          2.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2).

10          3.      The Court has personal jurisdiction over the Irico Defendants.

11          4.      The Clerk previously entered the default of the Irico Defendants pursuant to Rule

12   55(a) of the Federal Rules of Civil Procedure. ECF No. 4727.

13          5.      The factual allegations of Plaintiffs’ Consolidated Amended Complaint, ECF No.

14   436, are taken as true, including as to the Irico Defendants’ participation in a worldwide conspiracy

15   to fix, raise, stabilize and maintain prices for Cathode Ray Tubes (“CRTs”).

16          6.      The direct purchaser class, as defined in the Court’s order granting class

17   certification, In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606 (N.D. Cal. 2015), was

18   overcharged in the amount of $876,000,000 during the class period.

19          7.      Plaintiffs are entitled to treble damages under Section 4 of the Clayton Act. 15

20   U.S.C. § 15.

21          8.      The Court has previously approved settlements totaling $212,200,000 for the benefit

22   of the direct purchaser class. ECF Nos. 1412, 1508, 1621, 1791, 3931, 4260, 5168. The total class

23   total class recovery to date equals 24% of single damages. ECF No. 5168 at 6 n.13.

24          9.      In considering together all of the factors set forth in Eitel v. McCool, 782 F.2d 1470,

25   1471–72 (9th Cir. 1986), the weight of evidence supports the entry of default judgment against the

26   Irico Defendants in this matter.

27          Accordingly, it is hereby ORDERED and DECREED that:

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        [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ APPLICATION FOR DEFAULT
          JUDGMENT BY THE COURT AGAINST THE IRICO DEFENDANTS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 5183-3 Filed 08/03/17 Page 3 of 3




 1          10.     Pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, the Court hereby

 2   enters default judgment against the Irico Defendants and in favor of Plaintiffs in the amount of

 3   $2,484,916,104.46.

 4          IT IS SO ORDERED.

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 6   Dated: _____________________                         ________________________________
                                                          HONORABLE JON S. TIGAR
 7                                                        UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ APPLICATION FOR DEFAULT
          JUDGMENT BY THE COURT AGAINST THE IRICO DEFENDANTS; Master File No. 07-CV-5944-JST
